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                    Exhibit U
             Case
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 �AO 245E       (Rev. 12/03) Judgment in a Criminal Case for Organizational Defendants
                Sheet I



                                        UNITED STATES DISTRICT COURT
                                                                       District of
          UNITED STATES OF AMERICA                                               JUDGMENT IN A CRIMINAL CASE
                               V.                                                (For Organizational Defendants)

          TIGER ASIA MANAGEMENT, LLC                                             CASE NUMBER: 2:12cr808(SRC)(1)

                                                                                  LAWRENCE S. LUSTBERG, ESQS.
                                                                                 Defendant Organization's Attorney
THE DEFENDANT ORGANIZATION:
� pleaded guilty to count(s)          -------------------------------------
                                      one information

□ pleaded nolo contendere to count(s)
     which was accepted by the court.
D was found guilty on count(s)
  after a plea of not guilty.
The organizational defendant is adjudicated guilty of these offenses:




        The defendant organization is sentenced as provided in pages 2 through ___3__ of this judgment.

D The defendant organization has been found not guilty on count(s)
D Count(s)       ------------- D is                                     D are dismissed on the motion of the United States.

          It is ordered that the defendant organization must notify the United States attorney for this district within 30 days of any change
of name, principal business address, or mailing address until all fines, restitution, costs, andspecial assessments imposed by thisjudgment
are fully paid. If ordered to pay restitution, the defendant organization must notify the court and United States attorney of material
changes in economic circumstances.                                                                                                ,.

Defendant Organization's
Federal Employer I.D. No.: _____________                                          12/12/2012

Defendant Organization's Principal Business Address:

  SPECIAL ASSESSMENT: $400.00 ON COUNT 1
  INFORMATION


                                                                                  Stanley R. Chesler, U.S. D. J.
                                                                                 Name of Judge                       Title of Judge


                                                                                  12/12/2012
                                                                                 Date
Defendant Organization's Mailing Address:




                                                                                                                           GOVERNMENT
                                                                                                                             EXHIBIT
                                                                                                                              2705
                                                                                                                              22 Cr. 240 (AKH)



                                                                                                                              SDNY_P015_0000000042
           Case
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AO 245E   (Rev. 12/03) Judgment in a Criminal Case for Organizational Defendants
          Sheet 2 - Probation
                                                                                                   Judgment-Page      2     of        3
DEFENDANT ORGANIZATION: TIGER ASIA MANAGEMENT, LLC
CASE NUMBER: 2:12cr808(SRC)(1)
                                                                  PROBATION
The defendant organization is hereby sentenced to probation for a term of:
 1 YEAR ON COUNT ONE OF THE INFORMATION



The defendant organization shall not commit another federal, state or local crime.




              If this judgment imposes a fine or a restitution obligation,, it is a condition of probation that the defendant organization
     pay in accordance with the Schedule of Payments sheet of tliis juagment.




         The defendant organization must comply with the standard conditions that have been adopted by this court as well as with any
additional conditions on tlie attached page (if indicated below).




                                     STANDARD CONDITIONS OF SUPERVISION
  1) within thirty days from the date of this judgment, the defendant organization shall designate an official of the organization to act
     as the organizations's representative and to be the primary contact with the probation officer;
  2) the defendant organization shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation
     officer;
  3) the defendant organization shall notify the probation officer ten days prior to any change in principal business or mailing address;
 4) the defendant organization shall permit a probation officer to visit the organization at any of its operating business sites;
  5) the defendant organization shall notify the probation officer within seventy-two hours of any criminal prosecution, major civil
     litigation, or admmistrative proceeding agamst the organization;
 6) the defendant organization shall not dissolve, change its name, or change the name under which it does business unless this
    judgment and all criminal monetary penalties imposecl by this court are eitfier fully satisfied or are equally enforceable against the
    defendant's successors or assignees; and
  7) the defendant organization shall not waste, nor without permission of the probation officer, sell, assign, or transfer its assets.




                                                                                                                       SDNY_P015_0000000043
           Case
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 AO 245E    ( Rev. 12/03) Judgment in a Criminal Case for Organizational Defendants
            Sheet 2A - Probation

                                                                                      Judgment-Page _3_ o f __3 __
 DEFENDANT ORGANIZATION: TIGER ASIA MANAGEMENT, LLC
 CASE NUMBER: 2:12cr808(SRC)(1)

                                              ADDITIONAL PROBATION TERMS
CONSENT JUDGMENT AND ORDER OF FORFEITURE FILED IN THE AMOUNT OF $16,257,918.00




                                                                                                   SDNY_P015_0000000044
